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                                                       UNITED STATES DISTRICT COURT
                                                           DISTRICT OF SOUTH DAKOTA
                                                                       WESTERN DIVISION

  ^^^^^^           ^^^                     «f# «f# ^   ^    >1*         ^^^^ klA ^^^ %U ^^^^             ^ *1^ ^^    *!• ^^^^^^^^^^^                                 ^^^^^^^^
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DAKOTA RURAL ACTION;                                                                  *             CIV 19-5026
DALLAS GOLDTOOTH;                                                                     *
INDIGENOUS ENVIRONMENTAL                                                              *
NETWORK;NDN COLLECTIVE;           *
SIERRA CLUB; and NICHOLAS TILSEN; *
                                                                                      *


                            Plaintiffs,                                               *
              vs.                                                                     *                ORDER FOR DISMISSAL
                                                                                      *


KRISTINOEM,in her official capacity as                                                *
Governor ofthe State of South Dakota;                                                 *
JASON RAVNSBORG,in his official                                                       *
capacity as Attorney General; and                                                     *
KEVIN THOM,in his official capacity as                                                *
Sheriff ofPennington County,                                                          *

                            Defendants.                                               *
                                                                                      *




              This matter having come before the Court on the Stipulated Settlement Agreement between
these parties filed in this matter, and the Court having foimd good cause, and the Court also
applauding all parties for reaching agreement:

              IT IS HEREBY ORDERED thatthe parties consentto,and the Courthereby agrees to accept,
continuing jurisdiction to enforce the terms ofthe Stipulated Settlement Agreement; and

              IT IS HEREBY ORDERED that the above-entitled action is dismissed with prejudice
                    l^d Settlement Agreement, which is hereby incorporated by the Court.
pursuant to the Stipul^d

              Dated this                      day of October, 2019.

                                                                                      BY THE COURT:




                                                                                        Lawrence L. Piersol
ATTEST:                                                                               United States District Judge
MATTHEW W.THELEN CLERK
